              Case 6:15-bk-10319-CCJ               Doc 70    Filed 03/27/18      Page 1 of 2



                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

In re:

LORRI ANN GLOVER,                                            Case No.: 6:15-bk-10319-CCJ
                                                             Chapter: 7
         Debtor.
                                                        /

CONSENT TO MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF LIENS,
 ENCUMBRANCES AND INTERESTS WITH CONSENT OF ALL LIENHOLDERS

         SunTrust Mortgage, Inc. (the “Secured Creditor”), by and through undersigned counsel,

responds      to    the    Motion     to    Sell    Real    Property     Free   and   Clear    of   Liens,

Encumbrances and Interests with Consent of All Lienholders (the “Motion”) (Doc. No. 69) and

in support thereof, Secured Creditor states as follows:

         1.        Debtor's Bankruptcy Case:        This case was commenced by the filing of a

voluntary Chapter 13 petition on December 09, 2015. The case was converted to a Chapter 13

on June 9, 2016.

         2.        Collateral:     Secured Creditor holds a mortgage lien against the Debtor's

property located at 10711 Leader Lane, Orlando, Florida 32825 (the “Property”).

         3.        Motion:         The Chapter 7 Trustee is seeking authority to sell the Property. A

copy of the approval letter was attached to the Motion.

         4.        Response:       Secured Creditor reserves the right to supplement and/or amend

this Response.



         ##REMAINDER OF PAGE INTENTIONALLY LEFT BLANK##



                                           ________________________
                                      MCCALLA RAYMER LEIBERT PIERCE, LLC
                                           110 S.E. 6th Street, Suite 2400
                                             Ft. Lauderdale, FL 33301
            Case 6:15-bk-10319-CCJ          Doc 70      Filed 03/27/18    Page 2 of 2



       WHEREFORE, the Secured Creditor requests that the Court enter an order approving

Motion to Sell Real Property Free and Clear of Liens, Encumbrances and Interests with Consent

of All Lienholders, and for such other and further relief as the Court deems just and proper.

                                               McCalla Raymer Leibert Pierce, LLC

                              By:              /s/Ashley Prager Popowitz
                                               Ashley Prager Popowitz
                                               Florida Bar No. 72341
                                               1544 Old Alabama Road
                                               Roswell, GA 30076
                                               754-263-1065
                                               Ashley.Popowitz@mccalla.com


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on March

27, 2018 to all parties on the list to receive e-mail notice/service for this case, via the Notice

of Electronic Filing (which is incorporated herein by reference), and via U.S. Mail, First Class

to Lorri Ann Glover, 10711 Leader Lane, Orlando, FL 32825.


                                              By:         /s/Ashley Prager Popowitz
                                                          Ashley Prager Popowitz


      Andrew W Houchins arivera@rushmarshall.com
      Arvind Mahendru amtrustee@gmail.com, amahendru@ecf.epiqsystems.com
      Ronnald R Mejia ronnald@ronnaldmejia.com
      Nicole Mariani Noel bankruptcynotices@kasslaw.com, nmnoel@ecf.courtdrive.com
      Steven G Powrozek spowrozek@logs.com, electronicbankruptcynotices@logs.com
      United States Trustee - ORL7/13 USTP.Region21.OR.ECF@usdoj.gov




                                     ________________________
                                 MCCALLA RAYMER LEIBERT PIERCE, LLC
                                      110 S.E. 6th Street, Suite 2400
                                        Ft. Lauderdale, FL 33301
